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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

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                                                                                                           Central District of California
                                                                                                           BY bolte      DEPUTY CLERK




     Attorney for Movant
     Movant appearing without an attorney

                                           UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 In re:                                                                       CASE NO.: 8:18-bk-10013-MW
                                                                              CHAPTER: 13
 Fred Asafu-Adjaye and Esther Asafu-Adjaye,
                                                                                        ORDER GRANTING MOTION FOR
                                                                                        RELIEF FROM THE AUTOMATIC
                                                                                         STAY UNDER 11 U.S.C. § 362
                                                                                             (REAL PROPERTY)

                                                                              DATE: 4/30/2018
                                                                              TIME: 9:00 a.m.
                                                                              COURTROOM: 6C
                                                                                               th
                                                                              PLACE: 411 West 4 Street, Santa Ana, CA


                                                              Debtor(s).

 Movant: Wells Fargo Bank, N.A.



1. The Motion was:                  Opposed               Unopposed                Settled by Stipulation         for Adequate Protection
2. The Motion affects the following real property (Property):

    Street address:        28841 Yosemite Place
    Unit/suite number:     ____________________
    City, state, zip code: Canyon Lake, CA 92587

Legal description or document recording number (including county of recording): 2006-0939524, Riverside County


          See attached page.



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3. The Motion is granted under:
      a.         11 U.S.C. § 362(d)(1)
      b.         11 U.S.C. § 362(d)(2)
      c.         11 U.S.C. § 362(d)(3)
      d.         11 U.S.C. § 362(d)(4). The filing of the bankruptcy petition was part of a scheme to hinder, delay, or defraud
                 creditors that involved:
           (1)        The transfer of all or part ownership of, or other interest in, the Property without the consent of the
                      secured creditor or court approval; and/or
           (2)        Multiple bankruptcy cases affecting the Property.
           (3)        The court        makes      does not make         cannot make
                      a finding that the Debtor was involved in this scheme.
           (4) If recorded in compliance with applicable state laws governing notices of interests or liens in real property, this
               order shall be binding in any other case under this title purporting to affect the Property filed not later than 2
               years after the date of the entry of this order by the court, except that a debtor in a subsequent case under
               this title may move for relief from this order based upon changed circumstances or for good cause shown,
               after notice and a hearing. Any federal, state or local government unit that accepts notices of interests or
               liens in real property shall accept any certified copy of this order for indexing and recording.

4.         As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.         Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.         Modified or conditioned as set forth in Exhibit                    to this order.
      c.         Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                 remedies regarding the Property do not constitute a violation of the stay.

5.         Movant may enforce its remedies to foreclose upon and obtain possession of the Property in accordance with
           applicable nonbankruptcy law, but may not pursue any deficiency claim against the Debtor or property of the
           estate except by filing a proof of claim pursuant to 11 U.S.C. § 501.

6.         Movant must not conduct a foreclosure sale of the Property before (date)                                       .

7.         The stay shall remain in effect subject to the terms and conditions set forth in the Adequate Protection Agreement
           contained within this order.

8.         In chapter 13 cases, the trustee must not make any further payments on account of Movant’s secured claim after
           entry of this order. The secured portion of Movant’s claim is deemed withdrawn upon entry of this order without
           prejudice to Movant’s right to file an amended unsecured claim for any deficiency. Absent a stipulation or order to
           the contrary, Movant must return to the trustee any payments received from the trustee on account of Movant’s
           secured claim after entry of this order.

9.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, as
           to the same terms and conditions as to the Debtor.

10.        The 14-day stay as provided in FRBP 4001(a)(3) is waived.

11. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
    of the Bankruptcy Code.

12. Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance agreement, loan
    modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its servicing
    agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.



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13. Upon entry of this order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
    Code § 2920.5(c)(2)(C).
14.         A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
            of any future bankruptcy case concerning the Property for a period of 180 days from the hearing of this Motion
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
15.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
            180 days, so that no further automatic stay shall arise in that case as to the Property.
16.         This order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
            interest in the Property for a period of 180 days from the hearing of this Motion:
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
17.         This order is binding and effective in any future bankruptcy case, no matter who the debtor may be
      (a)        without further notice.
      (b)        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                 nonbankruptcy law.
18.         Other (specify):


                                                                             ###




                    Date: April 17, 2018




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                                       ADEQUATE PROTECTION AGREEMENT
                                (This attachment is the continuation page for paragraph 7 of this order.)

The stay remains in effect subject to the following terms and conditions:

1.        The Debtor tendered payments at the hearing in the amount of $                                                .

2.        The Debtor must make regular monthly Adequate Protection payments in the amount of $3,727.37 each
          commencing (date) 5/01/2018. The amount of these payments may be subject to change under the terms of the
          parties’ original agreements. All payments due Movant under this Adequate Protection Agreement must be paid
          to Movant at the following address:




3.        The Debtor must cure the postpetition default computed through in the sum of $ as follows:

     a.        In equal monthly installments of $ each commencing (date) and continuing thereafter through and including
               (date) .
     b.        By paying the sum of $on or before (date),
     c.        By paying the sum of $on or before (date),
     d.        By paying the sum of $                                     on or before (date)                       ,
     e.        Other (specify):



4.        The Debtor must maintain insurance coverage on the Property and must remain current on all taxes that fall due
          postpetition with regard to the Property.

5.        The Debtor must file a disclosure statement and plan on or before (date)
          The disclosure statement must be approved on or before (date)
          The plan must be confirmed on or before (date)

6.        Upon any default in the terms and conditions set forth in paragraphs 1 through 5 of this Adequate Protection
          Agreement, Movant must serve written notice of default to the Debtor and the Debtor’s attorney, if any. If the
          Debtor fails to cure the default within 14 days after service of such written notice:

     a.        The stay automatically terminates without further notice, hearing or order.
     b.        Movant may file and serve a declaration under penalty of perjury specifying the default, together with a
               proposed order terminating the stay, which the court may grant without further notice or hearing.
     c.        The Movant may move for relief from the stay upon shortened notice in accordance with LBRs.
     d.        The Movant may move for relief from the stay on regular notice.

7.        Notwithstanding anything contained in this Adequate Protection Agreement to the contrary, the Debtor shall be
          entitled to a maximum of (number) 3 notices of default and opportunities to cure pursuant to the preceding
          paragraph. Once the Debtor has defaulted this number of times on the obligations imposed by this order and has
          been served with this number of notices of default, Movant is relieved of any obligation to serve additional notices
          of default or to provide additional opportunities to cure. If an event of default occurs thereafter, Movant will be
          entitled, without first serving a notice of default or providing the Debtor with an opportunity to cure, to file and
          serve a declaration under penalty of perjury setting forth in detail the Debtor’s failures to perform under this
          Adequate Protection Agreement, together with a proposed order terminating the stay, which the court may enter
          without further notice or hearing.


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8.      This Adequate Protection Agreement is binding only during the pendency of this bankruptcy case. If, at any time,
        the stay is terminated with respect to the Property by court order or by operation of law, this Adequate Protection
        Agreement ceases to be binding and Movant may proceed to enforce its remedies under applicable
        nonbankruptcy law against the Property and/or against the Debtor.

9.      If Movant obtains relief from stay based on the Debtor’s defaults under this Adequate Protection Agreement, the
        order granting such relief will contain a waiver of the 14-day stay as provided in FRBP 4001(a)(3).

10.     Movant may accept any and all payments made pursuant to this order without prejudice to or waiver of any rights
        or remedies to which Movant would otherwise have been entitled under applicable nonbankruptcy law.

11.     Other (specify): This stipulation is strictly for the purpose of Movant’s motion for relief from stay and
        Movant’s agreement herein is strictly for purposes of the motion for relief from stay. Movant reserves all
        rights under Title 11 and the right to object to any plan or disclosure statement and neither this
        stipulation nor Movant’s agreement hereunder shall constitute agreement or consent for purposes of any
        plan, confirmation, or any other purpose beyond the motion for relief from stay.


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